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                                 EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:     Mary Ida Townson, U.S. Trustee for Region 21


Admitted:             YES        or NO        (circle one)                         78


Chapter 11 Debtor:    Genie Investments NV, Inc.


Case No.              3:24−bk−00496−BAJ


Nature of Hearing:    Trial on

                      U.S. Trustee’s Motion to Appoint Chapter 11
                      Trustee, or, in the Alternative, Appoint
                      Examiner, Dismiss Case, or Convert Case to
                      Chapter 7 (Doc. No. 20)

                      Debtor’s Response Thereto (Doc. No. 34)

                      U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:           April 9, 2024, at 9:00 a.m.




                            United States Bankruptcy Court
                               Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
3/20/24, 6:16 PM      Case 3:24-bk-00496-BAJ            Doc 47-26      Filed
                                                             Mail - Adam Foster04/04/24
                                                                               - Outlook    Page 2 of 2




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